EarningsCase 18-68507-lrc
         Statement                   Doc 54   Filed 02/09/21 Entered 02/09/21 08:25:21DONALD
                                                                                        Desc Main
                                                                                               WHITING
                                              Document     Page 1 of 11
                                     Company: 0G515 - KELLYS FOOD TRANSPORTATION
  Pay Date:         01/29/2021                OF AL                                                        Emp #: A06C
  Period Start:     01/17/2021       1385 COLLIER RD. NW                                              Dept: 30 - Delivery
  Period End:       01/23/2021       ATLANTA GA 30318                                                  Pay Basis: Hourly

                                              Rate Hours/Units Current Period Year To Date
Earnings
  Regular                                     17.00     40.00          680.00      2531.30
  Overtime                                    25.50      7.50          191.25       639.80

                           Gross                        47.50          871.25      3171.10
W/H Taxes
 Federal W/H(M/3)                                                       38.97       126.05
 Medicare                                                               12.63        45.98
 Social Security                                                        54.02       196.61
 Georgia State W/H(B/1)                                                 33.79       117.13

Deductions
  Child Support $                                                       61.00       244.00

                           Net Pay                                     670.84      2441.33 Check No. 409803379
Net Pay Distribution
  Payroll Net Check                                                    670.84      2441.33 A/C:

Employee Benefits, Allowances, and Other                        Current Period Year To Date YTD Taken Available
 Vacation Hours                                                           0.00        40.00      40.00     0.00




                                                                                    Check No. 409803379
  KELLYS FOOD TRANSPORTATION OF AL
  P.O. BOX 770187                                        DATE: 01/29/2021
  WINTER GARDEN, FLORIDA 34777-0187
  1-407-654-0500 1-800-749-2171
  Dept: 30

  Net Pay:                                                                                                670.84
  Six Hundred Seventy And 84/100 Dollars



  DONALD WHITING
  1162 LEHAUN CT                                                         For Record Purposes Only
  GANOTIB, GA 30228                                                    **NON-NEGOTIABLE**
EarningsCase 18-68507-lrc
         Statement                   Doc 54   Filed 02/09/21 Entered 02/09/21 08:25:21DONALD
                                                                                        Desc Main
                                                                                               WHITING
                                              Document     Page 2 of 11
                                     Company: 0G515 - KELLYS FOOD TRANSPORTATION
  Pay Date:         01/22/2021                OF AL                                                        Emp #: A06C
  Period Start:     01/10/2021       1385 COLLIER RD. NW                                              Dept: 30 - Delivery
  Period End:       01/16/2021       ATLANTA GA 30318                                                  Pay Basis: Hourly

                                              Rate Hours/Units Current Period Year To Date
Earnings
  Regular                                     17.00     40.00          680.00      1851.30
  Overtime                                    25.50     11.00          280.50       448.55

                           Gross                        51.00          960.50      2299.85
W/H Taxes
 Federal W/H(M/3)                                                       49.68        87.08
 Medicare                                                               13.93        33.35
 Social Security                                                        59.55       142.59
 Georgia State W/H(B/1)                                                 38.93        83.34

Deductions
  Child Support $                                                       61.00       183.00

                           Net Pay                                     737.41      1770.49 Check No. 409779807
Net Pay Distribution
  Payroll Net Check                                                    737.41      1770.49 A/C:

Employee Benefits, Allowances, and Other                        Current Period Year To Date YTD Taken Available
 Vacation Hours                                                           0.00        40.00      40.00     0.00




                                                                                    Check No. 409779807
  KELLYS FOOD TRANSPORTATION OF AL
  P.O. BOX 770187                                        DATE: 01/22/2021
  WINTER GARDEN, FLORIDA 34777-0187
  1-407-654-0500 1-800-749-2171
  Dept: 30

  Net Pay:                                                                                                737.41
  Seven Hundred Thirty Seven And 41/100 Dollars



  DONALD WHITING
  1162 LEHAUN CT                                                         For Record Purposes Only
  GANOTIB, GA 30228                                                    **NON-NEGOTIABLE**
EarningsCase 18-68507-lrc
         Statement                   Doc 54   Filed 02/09/21 Entered 02/09/21 08:25:21DONALD
                                                                                        Desc Main
                                                                                               WHITING
                                              Document     Page 3 of 11
                                     Company: 0G515 - KELLYS FOOD TRANSPORTATION
  Pay Date:         01/15/2021                OF AL                                                        Emp #: A06C
  Period Start:     01/03/2021       1385 COLLIER RD. NW                                              Dept: 30 - Delivery
  Period End:       01/09/2021       ATLANTA GA 30318                                                  Pay Basis: Hourly

                                              Rate Hours/Units Current Period Year To Date
Earnings
  Regular                                     17.00     40.00          680.00      1171.30
  Overtime                                    25.50      6.59          168.05       168.05

                           Gross                        46.59          848.05      1339.35
W/H Taxes
 Federal W/H(M/3)                                                       36.54        37.40
 Medicare                                                               12.30        19.42
 Social Security                                                        52.58        83.04
 Georgia State W/H(B/1)                                                 32.46        44.41

Deductions
  Child Support $                                                       61.00       122.00

                           Net Pay                                     653.17      1033.08 Check No. 409753459
Net Pay Distribution
  Payroll Net Check                                                    653.17      1033.08 A/C:

Employee Benefits, Allowances, and Other                        Current Period Year To Date YTD Taken Available
 Vacation Hours                                                           0.00        40.00      40.00     0.00




                                                                                    Check No. 409753459
  KELLYS FOOD TRANSPORTATION OF AL
  P.O. BOX 770187                                        DATE: 01/15/2021
  WINTER GARDEN, FLORIDA 34777-0187
  1-407-654-0500 1-800-749-2171
  Dept: 30

  Net Pay:                                                                                                653.17
  Six Hundred Fifty Three And 17/100 Dollars



  DONALD WHITING
  1162 LEHAUN CT                                                         For Record Purposes Only
  GANOTIB, GA 30228                                                    **NON-NEGOTIABLE**
EarningsCase 18-68507-lrc
         Statement                   Doc 54   Filed 02/09/21 Entered 02/09/21 08:25:21DONALD
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                                     Company: 0G515 - KELLYS FOOD TRANSPORTATION
  Pay Date:         01/08/2021                OF AL                                                        Emp #: A06C
  Period Start:     12/27/2020       1385 COLLIER RD. NW                                              Dept: 30 - Delivery
  Period End:       01/02/2021       ATLANTA GA 30318                                                  Pay Basis: Hourly

                                              Rate Hours/Units Current Period Year To Date
Earnings
  Regular                                     17.00     28.90          491.30       491.30

                           Gross                        28.90          491.30       491.30
W/H Taxes
 Federal W/H(M/3)                                                        0.86         0.86
 Medicare                                                                7.12         7.12
 Social Security                                                        30.46        30.46
 Georgia State W/H(B/1)                                                 11.95        11.95

Deductions
  Child Support $                                                       61.00        61.00

                           Net Pay                                     379.91       379.91 Check No. 409730674
Net Pay Distribution
  Payroll Net Check                                                    379.91       379.91 A/C:

Employee Benefits, Allowances, and Other                        Current Period Year To Date YTD Taken Available
 Vacation Hours                                                           0.00        40.00      40.00     0.00




                                                                                    Check No. 409730674
  KELLYS FOOD TRANSPORTATION OF AL
  P.O. BOX 770187                                        DATE: 01/08/2021
  WINTER GARDEN, FLORIDA 34777-0187
  1-407-654-0500 1-800-749-2171
  Dept: 30

  Net Pay:                                                                                               379.91
  Three Hundred Seventy Nine And 91/100 Dollars



  DONALD WHITING
  1162 LEHAUN CT                                                         For Record Purposes Only
  GANOTIB, GA 30228                                                    **NON-NEGOTIABLE**
EarningsCase 18-68507-lrc
         Statement                     Doc 54   Filed 02/09/21 Entered 02/09/21 08:25:21DONALD
                                                                                          Desc Main
                                                                                                 WHITING
                                                Document     Page 5 of 11
                                       Company: 0G515 - KELLYS FOOD TRANSPORTATION
  Pay Date:         12/31/2020                  OF AL                                                        Emp #: A06C
  Period Start:     12/20/2020         1385 COLLIER RD. NW                                              Dept: 30 - Delivery
  Period End:       12/26/2020         ATLANTA GA 30318                                                  Pay Basis: Hourly

                                                Rate Hours/Units Current Period Year To Date
Earnings
  Regular                                       17.00     30.38          516.46     16812.02
  Overtime                                      25.50      0.00            0.00      2758.36
  Paid Time Off                                 17.00      0.00            0.00       136.00
  Bonus                                                                    0.00       100.00
  Holiday                                       17.00      8.00          136.00       272.00
  Holiday $                                                                0.00       225.00
  Piece Rate                                                               0.00     36000.00
  Vacation Piece Rate                                                      0.00      1575.00

                             Gross                        38.38          652.46     57878.38
W/H Taxes
 Federal W/H(M/3)                                                         17.55      3523.54
 Medicare                                                                  9.46       839.24
 Social Security                                                          40.45      3588.46
 Georgia State W/H(B/1)                                                   21.21      2458.11

Deductions
  Child Support $                                                         61.00      3233.00

                             Net Pay                                     502.79     44236.03 Voucher No. 284645177DD
Net Pay Distribution
  Direct Deposit Net Check                                               502.79     44236.03 A/C:7026

Employee Benefits, Allowances, and Other                          Current Period Year To Date YTD Taken Available
 Vacation Hours                                                             0.00        40.00      40.00     0.00




                                                                                  Voucher No. 284645177DD
  KELLYS FOOD TRANSPORTATION OF AL
  P.O. BOX 770187                                          DATE: 12/31/2020
  WINTER GARDEN, FLORIDA 34777-0187
  1-407-654-0500 1-800-749-2171
  Dept: 30

  Net Pay:                                                                                                 502.79
  Five Hundred Two And 79/100 Dollars



  DONALD WHITING
  1162 LEHAUN CT                                                           For Record Purposes Only
  GANOTIB, GA 30228                                                      **NON-NEGOTIABLE**
EarningsCase 18-68507-lrc
         Statement                     Doc 54   Filed 02/09/21 Entered 02/09/21 08:25:21DONALD
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                                       Company: 0G515 - KELLYS FOOD TRANSPORTATION
  Pay Date:         12/24/2020                  OF AL                                                        Emp #: A06C
  Period Start:     12/13/2020         1385 COLLIER RD. NW                                              Dept: 30 - Delivery
  Period End:       12/19/2020         ATLANTA GA 30318                                                  Pay Basis: Hourly

                                                Rate Hours/Units Current Period Year To Date
Earnings
  Regular                                       17.00     40.00          680.00     16295.56
  Overtime                                      25.50      6.98          177.99      2758.36
  Paid Time Off                                 17.00      0.00            0.00       136.00
  Bonus                                                                    0.00       100.00
  Holiday                                       17.00      0.00            0.00       136.00
  Holiday $                                                                0.00       225.00
  Piece Rate                                                               0.00     36000.00
  Vacation Piece Rate                                                      0.00      1575.00

                             Gross                        46.98          857.99     57225.92
W/H Taxes
 Federal W/H(M/3)                                                         38.13      3505.99
 Medicare                                                                 12.45       829.78
 Social Security                                                          53.20      3548.01
 Georgia State W/H(B/1)                                                   33.03      2436.90

Deductions
  Child Support $                                                         61.00      3172.00

                             Net Pay                                     660.18     43733.24 Voucher No. 283384258DD
Net Pay Distribution
  Direct Deposit Net Check                                               660.18     43733.24 A/C:7026

Employee Benefits, Allowances, and Other                          Current Period Year To Date YTD Taken Available
 Vacation Hours                                                             0.00        40.00      40.00     0.00




                                                                                  Voucher No. 283384258DD
  KELLYS FOOD TRANSPORTATION OF AL
  P.O. BOX 770187                                          DATE: 12/24/2020
  WINTER GARDEN, FLORIDA 34777-0187
  1-407-654-0500 1-800-749-2171
  Dept: 30

  Net Pay:                                                                                                 660.18
  Six Hundred Sixty And 18/100 Dollars



  DONALD WHITING
  1162 LEHAUN CT                                                           For Record Purposes Only
  GANOTIB, GA 30228                                                      **NON-NEGOTIABLE**
EarningsCase 18-68507-lrc
         Statement                     Doc 54   Filed 02/09/21 Entered 02/09/21 08:25:21DONALD
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                                       Company: 0G515 - KELLYS FOOD TRANSPORTATION
  Pay Date:         12/18/2020                  OF AL                                                        Emp #: A06C
  Period Start:     12/06/2020         1385 COLLIER RD. NW                                              Dept: 30 - Delivery
  Period End:       12/12/2020         ATLANTA GA 30318                                                  Pay Basis: Hourly

                                                Rate Hours/Units Current Period Year To Date
Earnings
  Regular                                       17.00     40.00          680.00     15615.56
  Overtime                                      25.50      5.20          132.60      2580.37
  Paid Time Off                                 17.00      0.00            0.00       136.00
  Bonus                                                                    0.00       100.00
  Holiday                                       17.00      0.00            0.00       136.00
  Holiday $                                                                0.00       225.00
  Piece Rate                                                               0.00     36000.00
  Vacation Piece Rate                                                      0.00      1575.00

                             Gross                        45.20          812.60     56367.93
W/H Taxes
 Federal W/H(M/3)                                                         33.57      3467.86
 Medicare                                                                 11.78       817.33
 Social Security                                                          50.38      3494.81
 Georgia State W/H(B/1)                                                   30.42      2403.87

Deductions
  Child Support $                                                         61.00      3111.00

                             Net Pay                                     625.45     43073.06 Voucher No. 282017722DD
Net Pay Distribution
  Direct Deposit Net Check                                               625.45     43073.06 A/C:7026

Employee Benefits, Allowances, and Other                          Current Period Year To Date YTD Taken Available
 Vacation Hours                                                             0.00        40.00      40.00     0.00




                                                                                  Voucher No. 282017722DD
  KELLYS FOOD TRANSPORTATION OF AL
  P.O. BOX 770187                                          DATE: 12/18/2020
  WINTER GARDEN, FLORIDA 34777-0187
  1-407-654-0500 1-800-749-2171
  Dept: 30

  Net Pay:                                                                                                 625.45
  Six Hundred Twenty Five And 45/100 Dollars



  DONALD WHITING
  1162 LEHAUN CT                                                           For Record Purposes Only
  GANOTIB, GA 30228                                                      **NON-NEGOTIABLE**
EarningsCase 18-68507-lrc
         Statement                   Doc 54   Filed 02/09/21 Entered 02/09/21 08:25:21DONALD
                                                                                        Desc Main
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                                     Company: 0G515 - KELLYS FOOD TRANSPORTATION
  Pay Date:         01/29/2021                OF AL                                                        Emp #: A06C
  Period Start:     01/17/2021       1385 COLLIER RD. NW                                              Dept: 30 - Delivery
  Period End:       01/23/2021       ATLANTA GA 30318                                                  Pay Basis: Hourly

                                              Rate Hours/Units Current Period Year To Date
Earnings
  Regular                                     17.00     40.00          680.00      2531.30
  Overtime                                    25.50      7.50          191.25       639.80

                           Gross                        47.50          871.25      3171.10
W/H Taxes
 Federal W/H(M/3)                                                       38.97       126.05
 Medicare                                                               12.63        45.98
 Social Security                                                        54.02       196.61
 Georgia State W/H(B/1)                                                 33.79       117.13

Deductions
  Child Support $                                                       61.00       244.00

                           Net Pay                                     670.84      2441.33 Check No. 409803379
Net Pay Distribution
  Payroll Net Check                                                    670.84      2441.33 A/C:

Employee Benefits, Allowances, and Other                        Current Period Year To Date YTD Taken Available
 Vacation Hours                                                           0.00        40.00      40.00     0.00




                                                                                    Check No. 409803379
  KELLYS FOOD TRANSPORTATION OF AL
  P.O. BOX 770187                                        DATE: 01/29/2021
  WINTER GARDEN, FLORIDA 34777-0187
  1-407-654-0500 1-800-749-2171
  Dept: 30

  Net Pay:                                                                                                670.84
  Six Hundred Seventy And 84/100 Dollars



  DONALD WHITING
  1162 LEHAUN CT                                                         For Record Purposes Only
  GANOTIB, GA 30228                                                    **NON-NEGOTIABLE**
EarningsCase 18-68507-lrc
         Statement                   Doc 54   Filed 02/09/21 Entered 02/09/21 08:25:21DONALD
                                                                                        Desc Main
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                                     Company: 0G515 - KELLYS FOOD TRANSPORTATION
  Pay Date:         01/22/2021                OF AL                                                        Emp #: A06C
  Period Start:     01/10/2021       1385 COLLIER RD. NW                                              Dept: 30 - Delivery
  Period End:       01/16/2021       ATLANTA GA 30318                                                  Pay Basis: Hourly

                                              Rate Hours/Units Current Period Year To Date
Earnings
  Regular                                     17.00     40.00          680.00      1851.30
  Overtime                                    25.50     11.00          280.50       448.55

                           Gross                        51.00          960.50      2299.85
W/H Taxes
 Federal W/H(M/3)                                                       49.68        87.08
 Medicare                                                               13.93        33.35
 Social Security                                                        59.55       142.59
 Georgia State W/H(B/1)                                                 38.93        83.34

Deductions
  Child Support $                                                       61.00       183.00

                           Net Pay                                     737.41      1770.49 Check No. 409779807
Net Pay Distribution
  Payroll Net Check                                                    737.41      1770.49 A/C:

Employee Benefits, Allowances, and Other                        Current Period Year To Date YTD Taken Available
 Vacation Hours                                                           0.00        40.00      40.00     0.00




                                                                                    Check No. 409779807
  KELLYS FOOD TRANSPORTATION OF AL
  P.O. BOX 770187                                        DATE: 01/22/2021
  WINTER GARDEN, FLORIDA 34777-0187
  1-407-654-0500 1-800-749-2171
  Dept: 30

  Net Pay:                                                                                                737.41
  Seven Hundred Thirty Seven And 41/100 Dollars



  DONALD WHITING
  1162 LEHAUN CT                                                         For Record Purposes Only
  GANOTIB, GA 30228                                                    **NON-NEGOTIABLE**
EarningsCase 18-68507-lrc
         Statement                   Doc 54    Filed 02/09/21 Entered 02/09/21 08:25:21DONALD
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                                     Company: 0G515 - KELLYS FOOD TRANSPORTATION
  Pay Date:         01/15/2021                OF AL                                                         Emp #: A06C
  Period Start:     01/03/2021       1385 COLLIER RD. NW                                               Dept: 30 - Delivery
  Period End:       01/09/2021       ATLANTA GA 30318                                                   Pay Basis: Hourly

                                               Rate Hours/Units Current Period Year To Date
Earnings
  Regular                                     17.00      40.00          680.00      1171.30
  Overtime                                    25.50       6.59          168.05       168.05

                           Gross                         46.59          848.05      1339.35
W/H Taxes
 Federal W/H(M/3)                                                        36.54        37.40
 Medicare                                                                12.30        19.42
 Social Security                                                         52.58        83.04
 Georgia State W/H(B/1)                                                  32.46        44.41

Deductions
  Child Support $                                                        61.00       122.00

                           Net Pay                                      653.17      1033.08 Check No. 409753459
Net Pay Distribution
  Payroll Net Check                                                     653.17      1033.08 A/C:

Employee Benefits, Allowances, and Other                         Current Period Year To Date YTD Taken Available
 Vacation Hours                                                            0.00        40.00      40.00     0.00




                                                                                     Check No. 409753459
  KELLYS FOOD TRANSPORTATION OF AL
  P.O. BOX 770187                                         DATE: 01/15/2021
  WINTER GARDEN, FLORIDA 34777-0187
  1-407-654-0500 1-800-749-2171
  Dept: 30

  Net Pay:                                                                                                 653.17
  Six Hundred Fifty Three And 17/100 Dollars



  DONALD WHITING
  1162 LEHAUN CT                                                          For Record Purposes Only
  GANOTIB, GA 30228                                                     **NON-NEGOTIABLE**
EarningsCase 18-68507-lrc
         Statement                   Doc 54    Filed 02/09/21 Entered 02/09/21 08:25:21DONALD
                                                                                         Desc Main
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                                     Company: 0G515 - KELLYS FOOD TRANSPORTATION
  Pay Date:         01/08/2021                OF AL                                                         Emp #: A06C
  Period Start:     12/27/2020       1385 COLLIER RD. NW                                               Dept: 30 - Delivery
  Period End:       01/02/2021       ATLANTA GA 30318                                                   Pay Basis: Hourly

                                               Rate Hours/Units Current Period Year To Date
Earnings
  Regular                                     17.00      28.90          491.30       491.30

                           Gross                         28.90          491.30       491.30
W/H Taxes
 Federal W/H(M/3)                                                         0.86         0.86
 Medicare                                                                 7.12         7.12
 Social Security                                                         30.46        30.46
 Georgia State W/H(B/1)                                                  11.95        11.95

Deductions
  Child Support $                                                        61.00        61.00

                           Net Pay                                      379.91       379.91 Check No. 409730674
Net Pay Distribution
  Payroll Net Check                                                     379.91       379.91 A/C:

Employee Benefits, Allowances, and Other                         Current Period Year To Date YTD Taken Available
 Vacation Hours                                                            0.00        40.00      40.00     0.00




                                                                                     Check No. 409730674
  KELLYS FOOD TRANSPORTATION OF AL
  P.O. BOX 770187                                         DATE: 01/08/2021
  WINTER GARDEN, FLORIDA 34777-0187
  1-407-654-0500 1-800-749-2171
  Dept: 30

  Net Pay:                                                                                                379.91
  Three Hundred Seventy Nine And 91/100 Dollars



  DONALD WHITING
  1162 LEHAUN CT                                                          For Record Purposes Only
  GANOTIB, GA 30228                                                     **NON-NEGOTIABLE**
